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 8                                      UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA
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11   TARA GARLICK, et al.,                                  )   Case No.: 1:13-cv-01051 LJO JLT
                                                            )
12                    Plaintiff,                            )   ORDER GRANTING STIPULATION TO
                                                            )   CONTINUE THE SCHEDULING CONFERENCE
13           v.                                             )
     COUNTY OF KERN, et al.,                                )   (Doc. 127)
14
                                                            )
15                    Defendants.                           )
                                                            )
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17           Though some of the plaintiffs have made global settlement demands, given the outstanding
18   motions for summary judgment, defendants are not prepared to discuss settlement. (Doc. 127 at 2)
19   Thus, counsel stipulate that the settlement conference, currently set on January 15, 2016, should be
20   moved to February. Id. Thus, good cause appearing, the Court ORDERS:
21           1.       The settlement conference is continued to February 23, 20161 at 9:30 a.m.;
22           2.       Counsel SHALL comply with the requirements of the scheduling order related to the
23   settlement conference (Doc. 85 at 7-8) including the exchange of meaning settlement offers.
24
25   IT IS SO ORDERED.

26       Dated:      January 4, 2016                                   /s/ Jennifer L. Thurston
27                                                              UNITED STATES MAGISTRATE JUDGE

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      The Court is concerned that the motions for summary judgment may not yet be decided by February 23, 2016 or may not
     be decided sufficiently in advance of that date to allow the exchange of meaningful settlement offers. In the event the
     Court’s concerns prove true, counsel SHALL seek a further continuance of the settlement conference.
